                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:13-00060
                                               )   JUDGE SHARP
DENISE COHN                                    )


                                          ORDER


        Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket No.

37).

        The motion is GRANTED and a hearing on a plea of guilty is hereby scheduled for

Friday, August 2, 2013, at 1:30 p.m.

        It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




     Case 3:13-cr-00060     Document 38       Filed 07/26/13     Page 1 of 1 PageID #: 74
